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                                        IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE DISTRICT OF DELAWARE

               In re:
                                                                             Chapter 11
                                                              1
               Prime Core Technologies Inc., et al.,
                                                                             Case No. 23-11161 (JKS)
                                                              Debtors.
                                                                             (Jointly Administered)


                                                            AFFIDAVIT OF SERVICE

                  I, Andrew K. Fitzpatrick, depose and say that I am employed by Stretto, the claims and
           noticing agent for the Debtors in the above-captioned cases.

                   On October 5, 2023, at my direction and under my supervision, employees of Stretto caused
           the following documents to be served via first-class mail on the service list attached hereto as
           Exhibit A, and via electronic mail on the service list attached hereto as Exhibit B:

                       Notice of Filing of Revised Joint Chapter 11 Plan of Reorganization for Prime Core
                        Technologies Inc. and Its Affiliated Debtors and Redline Thereof (Docket No. 235)

                       Notice of Filing of Revised Disclosure Statement Pursuant to Section 1125 of the
                        Bankruptcy Code With Respect to the Revised Joint Chapter 11 Plan of
                        Reorganization for Prime Core Technologies Inc. and Its Affiliated Debtors and
                        Redline Thereof (Docket No. 236)

                       Notice of Agenda of Matters Scheduled for Hearing on October 5, 2023 at 2:00 P.M.
                        (Eastern Time) Before the Honorable J. Kate Stickles (Docket No. 238)

                       Order (I) Extending Time to File Schedules of Assets and Liabilities and Statements
                        of Financial Affairs, and (II) Granting Related Relief (Docket No. 240)

                       Order Authorizing the Retention and Employment of Mcdermott Will & Emery LLP
                        as Counsel, Pursuant to Bankruptcy Code Section 327(a), Bankruptcy Rules 2014(a)
                        and 2016, and Local Rule 2014-1, Effective as of the Petition Date (Docket No. 242)

                       Order Authorizing the Debtors to Retain and Employ Stretto, Inc. as Administrative
                        Agent, Effective as of the Petition Date (Docket No. 243)



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           ______________________________________________
           1
            The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification number
           are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA, LLC (8436); and Prime Digital LLC
           (4528). Prime Trust, LLC’s service address is 10845 Griffith Peak Dr. #03-153, Las Vegas, NV 89135.

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                   Order (I) Authorizing the Employment and Retention of Galaxy Digital Partners
                    LLC as Investment Banker to the Debtors and Debtors-In-Possession, Effective as of
                    the Petition Date, (II) Approving the Terms of the Galaxy Engagement Letter, (III)
                    Waiving Certain Time-keeping Requirements Pursuant to Local Rule 2016-2(h), and
                    (IV) Granting Related Relief (Docket No. 244)

                   Order Authorizing and Approving the Employment and Retention of M3 Advisory
                    Partners, LP as Financial Advisor for the Debtors, Effective as of the Petition Date
                    (Docket No. 245)

                   Notice of Amended Agenda of Matters Scheduled for Hearing on October 5, 2023 at
                    2:00 P.M. (Eastern Time) Before the Honorable J. Kate Stickles (Docket No. 246)

                   Notice of Filing of Amended Consolidated List of Creditors Who Have the 50 Largest
                    Unsecured Claims and Are Not Insiders (Docket No. 249)

                   Notice of Filing of Further Revised Joint Chapter 11 Plan of Reorganization for Prime
                    Core Technologies Inc. and Its Affiliated Debtors and Redline Thereof
                    (Docket No. 250)

                   Notice of Filing of Further Revised Disclosure Statement Pursuant to Section 1125 of
                    the Bankruptcy Code With Respect to the Further Revised Joint Chapter 11 Plan of
                    Reorganization for Prime Core Technologies Inc. and Its Affiliated Debtors and
                    Redline Thereof (Docket No. 251)

                   Notice of Filing of Revised Proposed Order Regarding Debtors’ Motion for Entry of
                    an Order (I) Approving the Disclosure Statement on an Interim Basis for Solicitation
                    Purposes Only; (II) Establishing Procedures for Solicitation and Tabulation of Votes
                    to Accept or Reject the Plan; (III) Approving the Form of Ballot and Solicitation
                    Packages; (IV) Establishing the Voting Record Date; (V) Scheduling a Combined
                    Hearing for Final Approval of the Adequacy of Information in the Disclosure
                    Statement and Confirmation of the Plan; and (VI) Granting Related Relief
                    (Docket No. 252)

                   Notice of Filing of Liquidation Analysis (Docket No. 253)

                   Notice of Second Amended Agenda of Matters Scheduled for Hearing on October 5,
                    2023 at 2:00 P.M. (Eastern Time) Before the Honorable J. Kate Stickles
                    (Docket No. 254)




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                   Third Interim Order (I) Extending the Time for the Debtors to Comply With
                    Requirements Set Forth in 11 U.S.C. § 345(b); and (II) Granting Related Relief
                    (Docket No. 255)

                   In addition to the methods of service set forth herein, parties who have requested electronic
           notification of filings via the Bankruptcy Court’s CM/ECF system were sent the above referenced
           documents via electronic service.


           Dated: October 9, 2023                                        _____________________________
                                                                                Andrew K. Fitzpatrick
           State of Colorado            )
                                        ) SS.
           County of Denver             )

           Subscribed and sworn before me this 9th day of October 2023 by Andrew K. Fitzpatrick.


           ___________________________
              (Notary’s official signature)




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                                                 Exhibit A




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                                                                                     Exhibit A
                                                                              Served via First-Class Mail

                    Name                                  Attention                Address 1                            Address 2                    City    State     Zip        Country
AK Office of Attorney General                 Attn: Bankruptcy Unit   1031 W 4th Ave Ste 200                                                  Anchorage     AK     99501
AL Office of Attorney General                 Attn: Bankruptcy Unit   501 Washington Ave                                                      Montgomery    AL     36104
AR Office of Attorney General                 Attn: Bankruptcy Unit   323 Center St Ste 200                                                   Little Rock   AR     72201
AZ Office of Attorney General                 Attn: Bankruptcy Unit   2005 N Central Ave                                                      Phoenix       AZ     85004
CA Office of Attorney General                 Attn: Bankruptcy Unit   PO Box 944255                                                           Sacramento    CA     94244-2550
CO Office of Attorney General                 Attn: Bankruptcy Unit   1300 Broadway 10Th Fl                 Ralph L. Carr Judicial Building   Denver        CO     80203
CT Office of Attorney General                 Attn: Bankruptcy Unit   55 Elm St                                                               Hartford      CT     06106
DC Office of Attorney General                 Attn: Bankruptcy Unit   441 4Th St Nw Ste 1100S                                                 Washington    DC     20001
FL Office of Attorney General                 Attn: Bankruptcy Unit   The Capitol Pl-01                                                       Tallahassee   FL     32399
GA Office of Attorney General                 Attn: Bankruptcy Unit   40 Capitol Sq SW                                                        Atlanta       GA     30334
HI Office of Attorney General                 Attn: Bankruptcy Unit   425 Queen Street                                                        Honolulu      HI     96813
IA Office of Attorney General                 Attn: Bankruptcy Unit   1305 E. Walnut Street Rm 109          Hoover State Office Building      Des Moines    IA     50319
ID Office of Attorney General                 Attn: Bankruptcy Unit   700 W. Jefferson St Suite 210                                           Boise         ID     83720
IL Office of Attorney General                 Attn: Bankruptcy Unit   100 W. Randolph St                    James R. Thompson Center          Chicago       IL     62706

IN Office of Attorney General                 Attn: Bankruptcy Unit   302 W Washington St 5Th Fl            Indiana Government Center South Indianapolis   IN     46204
Internal Revenue Service                      Attn: Bankruptcy Unit   PO Box 7346                                                           Philadelphia   PA     19101-7346
KS Office of Attorney General                 Attn: Bankruptcy Unit   120 SW 10Th Ave 2nd Fl                                                Topeka         KS     66612
KY Office of Attorney General                 Attn: Bankruptcy Unit   700 Capitol Ave Ste 118               Capitol Building                Frankfort      KY     40601
LA Office of Attorney General                 Attn: Bankruptcy Unit   1885 N. Third St                                                      Baton Rouge LA        70802
MA Office of Attorney General                 Attn: Bankruptcy Unit   1 Ashburton Place 20Th Floor                                          Boston         MA     02108
MD Office of Attorney General                 Attn: Bankruptcy Unit   200 St. Paul Pl                                                       Baltimore      MD     21202
ME Office of Attorney General                 Attn: Bankruptcy Unit   6 State House Station                                                 Augusta        ME     04333
MI Office of Attorney General                 Attn: Bankruptcy Unit   525 W Ottawa St                       G. Mennen Williams Bldg 7th Fl Lansing         MI     48909
MN Office of Attorney General                 Attn: Bankruptcy Unit   445 Minnesota St Ste 1400                                             St. Paul       MN     55101
MO Office of Attorney General                 Attn: Bankruptcy Unit   207 W High St                         Supreme Court Building          Jefferson City MO     65101
MO Office of Attorney General                 Attn: Bankruptcy Unit   215 N. Sanders                        Justice Building Third Fl       Helena         MT     59601
MS Office of Attorney General                 Attn: Bankruptcy Unit   550 High St Ste 1200                  Walter Sillers Building         Jackson        MS     39201
NC Office of Attorney General                 Attn: Bankruptcy Unit   114 W Edenton St                                                      Raleigh        NC     27603
ND Office of Attorney General                 Attn: Bankruptcy Unit   State Capitol 600 E Boulevard Ave     Dept. 125                       Bismarck       ND     58505
NE Office of Attorney General                 Attn: Bankruptcy Unit   2115 State Capitol                                                    Lincoln        NE     68509
NH Office of Attorney General                 Attn: Bankruptcy Unit   33 Capitol St.                        NH Department Of Justice        Concord        NH     03301
                                                                                                            Richard J. Hughes Justice
NJ Office of Attorney General                 Attn: Bankruptcy Unit   25 Market St 8Th Fl West Wing         Complex                         Trenton        NJ     08611
NM Office of Attorney General                 Attn: Bankruptcy Unit   408 Galisteo Street                   Villagra Building               Santa Fe       NM     87501
NV Office of Attorney General                 Attn: Bankruptcy Unit   100 N Carson St                       Old Supreme Court Building      Carson City    NV     89701
NY Office of Attorney General                 Attn: Bankruptcy Unit   The Capitol                           2nd Floor                       Albany         NY     12224
OH Office of Attorney General                 Attn: Bankruptcy Unit   30 E Broad St 14Th Fl                 State Office Tower              Columbus       OH     43215
OK Office of Attorney General                 Attn: Bankruptcy Unit   313 NE 21St St                                                        Oklahoma City OK      73105
OR Office of Attorney General                 Attn: Bankruptcy Unit   1162 Court St NE                                                      Salem          OR     97301
PA Office of Attorney General                 Attn: Bankruptcy Unit   Strawberry Square 16th Fl                                             Harrisburg     PA     17120
PR Office of Attorney General                 Attn: Bankruptcy Unit   350 Carlos Chardón Street             Torre Chardón Suite 1201        San Juan       PR     00918         Puerto Rico
RI Office of Attorney General                 Attn: Bankruptcy Unit   150 S Main St                                                         Providence     RI     02903
SC Office of Attorney General                 Attn: Bankruptcy Unit   1000 Assembly St Rm 519               Rembert C. Dennis Bldg          Columbia       SC     29201
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                                                                                              Exhibit A
                                                                                        Served via First-Class Mail

                   Name                                   Attention                         Address 1                              Address 2                 City       State     Zip        Country
SD Office of Attorney General                 Attn: Bankruptcy Unit             1302 E Highway 14 Ste 1                                                Pierre           SD    57501
                                              Attn: Andrew Calamari Regional
Securities And Exchange Commission            Dir                               200 Vesey Street Suite 400            NY Reg Office Brookfield Place   New York         NY    10281-1022
Securities And Exchange Commission            Attn: Lara Shalov Mehraban        100 Pearl St Suite 20-100                                              New York         NY    10004-2616
Securities And Exchange Commission            Attn: Secretary of The Treasury   100 F Street NE                                                        Washington       DC    20549
TN Office of Attorney General                 Attn: Bankruptcy Unit             301 6Th Ave N                                                          Nashville        TN    37243
TX Office of Attorney General                 Attn: Bankruptcy Unit             300 W. 15Th St                                                         Austin           TX    78701
U.S. Trustee District of Delaware             Attn: Linda Casey Esq.            844 N King St #2207                   Lockbox 35                       Wilmington       DE    19801
US Attorney Office Dist of Delaware           Attn: Bankruptcy Unit             1313 N Market Street                                                   Wilmington       DE    19801
UT Office of Attorney General                 Attn: Bankruptcy Unit             350 North State St Ste 230            Utah State Capitol Complex       Salt Lake City   UT    84114
VA Office of Attorney General                 Attn: Bankruptcy Unit             202 N. Ninth St.                                                       Richmond         VA    23219
VT Office of Attorney General                 Attn: Bankruptcy Unit             109 State St.                                                          Montpelier       VT    05609
WA Office of Attorney General                 Attn: Bankruptcy Unit             1125 Washington St SE                                                  Olympia          WA    98501
WA Office of Attorney General                 Attn: Bankruptcy Unit             PO Box 40100                                                           Olympia          WA    98504-00
WI Office of Attorney General                 Attn: Bankruptcy Unit             17 West Main St Room 114 East P                                        Madison          WI    53702
WV Office of Attorney General                 Attn: Bankruptcy Unit             1900 Kanawha Blvd E State Capitol     Building 1 Rm E-26               Charleston       WV    25305
WY Office of Attorney General                 Attn: Bankruptcy Unit             2320 Capitol Ave                      Kendrick Building                Cheyenne         WY    82002




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                                                 Exhibit B




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                                                                                           Exhibit B
                                                                                     Served via Electronic Mail

                                 Name                                                      Attention 1                          Attention 2                         Email
                                                                                                                      Attn: John W. Weiss, William jweiss@pashmanstein.com
 Allegheny Casualty Company                                             c/o Pashman Stein Walder Hayden, P.C.         R. Firth, III                wfirth@pashmanstein.com
 Allsectech, Inc.                                                       Attn: Aviral Dhirendra                                                     aviral198828@gmail.com
                                                                                                                      Attn: David M. Fournier &    david.fournier@troutman.com
                                                                                                                      Evelyn J. Meltzer & Marcy J. evelyn.meltzer@troutman.com
 AnchorCoin LLC                                                         c/o Troutman Pepper Hamilton Sanders LLP      McLaughlin Smith             marcy.smith@troutman.com
 Austin Ward                                                                                                                                       austindward@proton.me
 Coinbits, Inc.                                                         c/o Meyers, Roman, Friedberg & Lewis LPA      Attn: David M Newumann       dneumann@meyersroman.com
                                                                                                                                                  susheelkirpalani@quinnemanuel.com
                                                                                                                      Attn: Susheel Kirpalani &   pattytomasco@quinnemanuel.com
                                                                                                                      Patricia B. Tomasco &       danielholzman@quinnemanuel.com
                                                                                                                      Daniel Holzman & Alain      alainjaquet@quinnemanuel.com
 Desolation Holdings LLC, Bittrex, Inc., Bittrex Malta Holdings Ltd.,                                                 Jaquet & Razmig Izakelian & razmigizakelian@quinnemanuel.com
 and Bittrex Malta Ltd.                                                 c/o Quinn Emanuel Urquhart & Sullivan, LLP    Joanna Caytas               joannacaytas@quinnemanuel.com
 Desolation Holdings LLC, Bittrex, Inc., Bittrex Malta Holdings Ltd.,                                                 Attn: Robert S. Brady &     rbrady@ycst.com
 and Bittrex Malta Ltd.                                                 c/o Young Conaway Stargatt & Taylor, LLP      Kenneth J. Enos             kenos@ycst.com
 DMG Blockchain Solutions, Inc.                                         Attn: Steven Eliscu                                                       steve@dmgblockchain.com
 Kado Software, Inc.                                                    c/o Gellert Scali Busenkell & Brown, LLC      Attn: Michael Van Gorder    mvangorder@gsbblaw.com
 Kado Software, Inc.                                                    c/o Raines Feldman Littrell LLP               Attn: David S. Forsh        dforsh@raineslaw.com
 Net Cents Technology, Inc.                                             Attn: Clayton Moore                                                       claytonmoore@net-cents.com
 Office of the Attorney General for the District of Columbia                                                                                      oag@dc.gov
 Office of the Attorney General for the State of Alabama                                                                                          consumerinterest@Alabamaag.gov
 Office of the Attorney General for the State of Alaska                                                                                           attorney.general@alaska.gov
 Office of the Attorney General for the State of Arizona                                                                                          BCEIntake@azag.gov
 Office of the Attorney General for the State of California                                                                                       xavier.becerra@doj.ca.gov
 Office of the Attorney General for the State of Colorado                                                                                         DOR_TAC_Bankruptcy@state.co.us
 Office of the Attorney General for the State of Connecticut                                                                                      attorney.general@ct.gov
 Office of the Attorney General for the State of Hawaii                                                                                           hawaiiag@hawaii.gov
 Office of the Attorney General for the State of Illinois                                                                                         michelle@lisamadigan.org
 Office of the Attorney General for the State of Iowa                                                                                             consumer@ag.iowa.gov
 Office of the Attorney General for the State of Kentucky                                                                                         KyOAGOR@ky.gov
 Office of the Attorney General for the State of Louisiana                                                                                        ConstituentServices@ag.louisiana.gov
 Office of the Attorney General for the State of Maryland                                                                                         oag@oag.state.md.us
 Office of the Attorney General for the State of Massachusetts                                                                                    ago@state.ma.us
 Office of the Attorney General for the State of Michigan                                                                                         miag@michigan.gov
 Office of the Attorney General for the State of Missouri                                                                                         consumer.help@ago.mo.gov
 Office of the Attorney General for the State of New Hampshire                                                                                    attorneygeneral@doj.nh.gov
 Office of the Attorney General for the State of North Dakota                                                                                     ndag@nd.gov
 Office of the Attorney General for the State of Oklahoma                                                                                         questions@oag.ok.gov
 Office of the Attorney General for the State of Utah                                                                                             uag@utah.gov
 Office of the Attorney General for the State of Vermont                                                                                          ago.info@vermont.gov
 Office of the Attorney General for the State of West Virginia                                                                                    consumer@wvago.gov

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                                                                                     Exhibit B
                                                                               Served via Electronic Mail

                                 Name                                                  Attention 1                             Attention 2                           Email
 Polaris Ventures                                                Attn: Ruairi Donnelly                                                              ruairi.donnelly@polaris-ventures.org
                                                                 c/o Mintz, Levin, Cohn, Ferris, Glovsky and Popeo,
 Polaris Ventures                                                P.C.                                                 Attn: Abigail O’Brient        aobrient@mintz.com
                                                                 c/o Mintz, Levin, Cohn, Ferris, Glovsky and Popeo,
 Polaris Ventures                                                P.C.                                                 Attn: Joseph R. Dunn          jrdunn@mintz.com
                                                                                                                      Attn: Michael R. Nestor &     mnestor@ycst.com
 Polaris Ventures                                                c/o Young Conaway Stargatt & Taylor, LLP             Ryan M. Bartley               rbartley@ycst.com
                                                                                                                      Attn: Robert J. Stark &       rstark@brownrudnick.com
                                                                                                                      Bennett S. Silverberg &       bsilverberg@brownrudnick.com
                                                                                                                      Kenneth J. Aulet & Jennifer   kaulet@brownrudnick.com
 Proposed Counsel to the Official Committee of Unsecured Creditors c/o Brown Rudnick LLP                              M. Schein                     jschein@brownrudnick.com
                                                                                                                      Attn: Tristan G. Axelrod &    taxelrod@brownrudnick.com
 Proposed Counsel to the Official Committee of Unsecured Creditors c/o Brown Rudnick LLP                              Matthew A. Sawyer             msawyer@brownrudnick.com
                                                                                                                      Attn: Donald J. Detweiler &   don.detweiler@wbd-us.com
 Proposed Counsel to the Official Committee of Unsecured Creditors c/o Womble Bond Dickinson (US) LLP                 Elazar A. Kosman              elazar.kosman@wbd-us.com
 Securities And Exchange Commission                                Attn: Lara Shalov Mehraban                                                       nyrobankruptcy@sec.gov
 Stably Corporation                                                Attn: Ivan Inchauste                                                             ivan@stably.io
                                                                                                                                                    JWilliamson@gravislaw.com
 Stably Corporation                                              c/o Gravis Law, PLLC                                 Attn: Jill Williamson         MPyfrom@gravislaw.com
                                                                                                                                                     JOLeary@gravislaw.com
                                                                                                                                                     DCannon@gravislaw.com
                                                                                                                                                     MHess@gravislaw.com
 Stably Corporation                                              c/o Gravis Law, PLLC                                 Attn: John W. O'Leary          HHarden@gravislaw.com
                                                                                                                      Attn: Tobias S. Keller & Traci tkeller@kbkllp.com
 Tiki Labs, Inc. dba Audius Inc.                                 c/o Keller Benvenutti Kim LLP                        L. Shafroth                    tshafroth@kbkllp.com
 Tiki Labs, Inc. dba Audius Inc.                                 c/o Pashman Stein Walder Hayden PC                   Attn: John W. Weiss            jweiss@pashmanstein.com
 US Attorney’s Office for the District of Delaware                                                                                                   usade.press@usdoj.gov
 Yousef Abbasi                                                                                                                                       Yousef.a.abbasi@gmail.com




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